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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                 Plaintiff,                         )
                                                      )
10          v.                                        ) 2:10-CR-356-LDG-(VCF)
                                                      )
11 JEANNIE SUTHERLAND,                                )
                                                      )
12                 Defendant.                         )
13                                  FINAL ORDER OF FORFEITURE
14          On December 8, 2010, the Grand Jury returned a Three-Count Criminal Superseding Indictment,

15 charging JEANNIE SUTHERLAND in Count One with Conspiracy to Commit Wire Fraud, Mail Fraud,

16 and Bank Fraud in violation of Title 18, United States Code, Sections 1341, 1343, 1344, and 1349; in

17 Counts Two and Three with Bank Fraud in violation of Title 18, United States Code, Section 1344; and

18 alleged forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

19 States Code, Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United
20 States Code, Section 853(p). Criminal Superseding Indictment, ECF No. 60.

21           On February 2, 2012, defendant JEANNIE SUTHERLAND was found guilty by a jury as to

22 Counts One and Three of the Criminal Superseding Indictment (ECF No. 60). Jury Trial Minutes, ECF

23 No. 286; Jury Verdict Form, ECF No. 287.

24           On February 9, 2012, the United States District Court for the District of Nevada entered an

25 Order of Forfeiture (ECF No. 294) as to JEANNIE SUTHERLAND, issuing a criminal forfeiture
26 money judgment of $965,000 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(1) and




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 1 (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

 2 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code, Section

 3 853(p) based upon the jury verdict finding defendant JEANNIE SUTHERLAND guilty of the criminal

 4 offenses. Criminal Superseding Indictment, ECF No. 60; Jury Trial Minutes, ECF No. 286; Jury

 5 Verdict Form, ECF No. 287.

 6          On February 16, 2012, this Court rescinded and vacated the Order of Forfeiture (ECF No. 294).

 7 Order Rescinding and Vacating Order of Forfeiture, ECF No. 298.
 8          On May 16, 2012, an Amended Order of Forfeiture (ECF No. 330) was entered against JEANNIE

 9 SUTHERLAND for $2,350,350 in United States Currency. Thereafter, the United States recognized a

10 mathematical error and this Court entered a Second Amended Order of Forfeiture (ECF No. 345)

11 correcting the criminal forfeiture money judgment from $2,350,350 in United States Currency to

12 $2,341,350 in United States Currency.

13           On August 28, 2012, the United States District Court for the District of Nevada sentenced

14 JEANNIE SUTHERLAND. Sentencing Minutes, ECF No. 376. On September 4, 2012, this Court

15 entered the sentencing Order of Forfeiture with a criminal forfeiture money judgment of $2,341,350 in

16 United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States

17 Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States

18 Code, Section 982(a)(2)(A); and Title 21, United States Code, Section 853(p). Sentencing Order of
19 Forfeiture, ECF No. 378.

20           On September 6, 2012, the United States District Court for the District of Nevada entered the

21 Judgment in a Criminal Case on JEANNIE SUTHERLAND with the Sentencing Order of Forfeiture

22 (ECF No. 378) attached. Judgment in a Criminal Case, ECF No. 381.

23          On March 28, 2014, the United States filed a Sealed Ex Parte Motion to File this Motion and the

24 Sealed Ex Parte Motion to Substitute and to Forfeit Property of Jeannie Sutherland under Seal and Order
25 (ECF No. 430) along with the Sealed Ex Parte Motion to Substitute and to Forfeit Property of Jeannie

26 Sutherland (ECF No. 431) to be used towards satisfaction of Sutherland’s criminal forfeiture money

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 1 judgment. On March 31, 2014, the United States District Court for the District of Nevada entered the

 2 order granting the United States’ motion to seal (ECF No. 433) and the Substitution and Forfeiture Order

 3 (ECF No. 434) authorizing the substitution and forfeiture of the real property located at 9405 Shipboard

 4 Court, Las Vegas, Nevada 89117 (“property”) pursuant to Title 21, United States Code, Section 853(p).

 5 The property is more particularly described as follows:

 6          Parcel I:
 7       Lot One Hundred Twenty-Eight (128), in Block Four (4) of Mission Monterey Unit No. 2, as
   shown by map thereof on file in Book 40 of Plats, Page 9, in the Office of the County Recorder of Clark
 8 County, Nevada.

 9          Parcel II:
10         A non-exclusive easement on and over the “Common Area” as defined in the Declaration of
   Covenants, Conditions and Restrictions to which reference is hereafter made for access, use, enjoyment,
11 occupancy, ingress and egress of the amenities located hereon subject to the terms and provisions of said
   Declaration of Covenants, Conditions and Restrictions recorded January 20, 1987 in Book 870120 of
12 Official Records, as Document No. 00088.

13          Together with any and all improvements and appurtenances thereon, Assessor’s Parcel No. 163-
     07-813-014.
14

15          On April 4, 2014, the United States Marshals Service (“USMS”) seized, arrested, and took into

16 custody the real property located at 9405 Shipboard Court, Las Vegas, Nevada 89117. Notice of Filing

17 Service of Process, ECF No. 442.

18           On April 8, 2014, the United States of America filed a Motion to Unseal the Sealed Ex Parte

19 Motion to Substitute and to Forfeit Property of Jeannie Sutherland and Order (ECF No. 435) so service

20 of process could be completed. On May 14, 2014, the United States District Court for the District of

21 Nevada entered the order granting the United States’ motion (ECF No. 440).

22          On April 8, 2014, the United States of America filed a Motion for an Interlocutory Order of Sale

23 of Property and Order (ECF No. 436). On May 14, 2014, the United States District Court for the

24 District of Nevada entered the order granting the United States’ motion (ECF No. 439).
25           This Court finds the United States of America published the notice of forfeiture in accordance

26 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

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 1 from May 22, 2014, through June 20, 2014, notifying all potential third parties of their right to petition

 2 the Court. Notice of Filing Proof of Publication, ECF No. 449.

 3           On May 27, 2014, Michael Chen, counsel for Wells Fargo Bank, McCarthy Holthus, LLP,

 4 9510 W. Sahara Ave., Ste. 200, Las Vegas, Nevada 89117 was personally served with the United

 5 States of America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

 6 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

 7 Notice. Notice of Filing Supplemental Service of Process - Personal Service, ECF No. 450.
 8           On June 19, 2014, Diana Alba, Clark County Clerk, Clark County Board of Commissioners,

 9 Commission Division, 500 S. Grand Central Parkway, 1st and 6th Floors, Las Vegas, Nevada 89155

10 was personally served with the United States of America’s Motion to File this Motion and the Motion

11 to Substitute under Seal, the Motion to Substitute and to Forfeit Property of Jeannie Sutherland, the

12 Substitution and Forfeiture Order, and the Notice. Notice of Filing Second Supplemental Service of

13 Process - Personal Service, ECF No. 451, p. 2-27.

14           On June 19, 2014, Diana Alba, Clark County Clerk, Commission Division, 500 S. Grand

15 Central Parkway, 1st and 6th Floors, Las Vegas, Nevada 89155 was personally served with the United

16 States of America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

17 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

18 Notice. Notice of Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p.
19 28-53.

20           On June 19, 2014, Diana Alba, Clark County Clerk, Clark County Water Reclamation District,

21 500 S. Grand Central Parkway, 1st and 6th Floors, Las Vegas, Nevada 89155 was personally served

22 with the United States of America’s Motion to File this Motion and the Motion to Substitute under

23 Seal, the Motion to Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and

24 Forfeiture Order, and the Notice. Notice of Filing Second Supplemental Service of Process - Personal
25 Service, ECF No. 451, p. 54-79.

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 1           On June 19, 2014, Larry Brown, Chairman, Clark County Water Reclamation District, 5857 E.

 2 Flamingo Road, Las Vegas, Nevada 89122 was personally served with the United States of America’s

 3 Motion to File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to

 4 Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of

 5 Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p. 80-105.

 6           On June 19, 2014, Debbie Conway, Clark County Recorder, 500 S. Grand Central Parkway,

 7 2nd Floor, Las Vegas, Nevada 89155 was personally served with the United States of America’s
 8 Motion to File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to

 9 Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of

10 Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p. 106-131.

11           On June 19, 2014, Michele F. Shafe, Clark County Assessor, 500 S. Grand Central Parkway,

12 2nd Floor, Las Vegas, Nevada 89155 was personally served with the United States of America’s

13 Motion to File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to

14 Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of

15 Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p. 132-157.

16           On June 18, 2014, Steven B. Wolfson, Clark County District Attorney, 200 Lewis Avenue, Las

17 Vegas, Nevada 89101 was personally served with the United States of America’s Motion to File this

18 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of
19 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Second

20 Supplemental Service of Process - Personal Service, ECF No. 451, p. 158-183.

21           On June 19, 2014, Beverly Bridges, City Clerk, City of Las Vegas, 495 S. Main St., Las Vegas,

22 Nevada 89101 was personally served with the United States of America’s Motion to File this Motion

23 and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of Jeannie

24 Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Third Supplemental
25 Service of Process - Personal Service, ECF No. 452, p. 2-27.

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 1           On June 19, 2014, Beverly Bridges, City Clerk, City of Las Vegas Sewer, 495 S. Main St., Las

 2 Vegas, Nevada 89101 was personally served with the United States of America’s Motion to File this

 3 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

 4 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Third

 5 Supplemental Service of Process - Personal Service, ECF No. 452, p. 28-53.

 6           On June 19, 2014, Bradford Jerbic, City Attorney, City of Las Vegas, 495 S. Main St., 6th

 7 Floor, Las Vegas, Nevada 89101 was personally served with the United States of America’s Motion to
 8 File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit

 9 Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing

10 Third Supplemental Service of Process - Personal Service, ECF No. 452, p. 54-79.

11           On June 19, 2014, John Entsminger, General Manager, Las Vegas Valley Water District, 1001

12 S. Valley View Blvd., Las Vegas, Nevada 89153 was personally served with the United States of

13 America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

14 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

15 Notice. Notice of Filing Third Supplemental Service of Process - Personal Service, ECF No. 452, p.

16 80-105.

17           On June 19, 2014, Mary Beth Scow, President, Las Vegas Valley Water District, 1001 S.

18 Valley View Blvd., Las Vegas, Nevada 89153 was personally served with the United States of
19 America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

20 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

21 Notice. Notice of Filing Third Supplemental Service of Process - Personal Service, ECF No. 452, p.

22 106-131.

23           On June 19, 2014, Gregory J. Walch, General Counsel, Las Vegas Valley Water District, Las

24 Vegas, Nevada 89153 was personally served with the United States of America’s Motion to File this
25 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

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 1 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Third

 2 Supplemental Service of Process - Personal Service, ECF No. 452, p. 132-157.

 3           On June 19, 2014, David L. Johnson, General Manager, Southern Nevada Water Authority,

 4 1001 S. Valley View Blvd., Las Vegas, Nevada 89153 was personally served with the United States of

 5 America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

 6 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

 7 Notice. Notice of Filing Third Supplemental Service of Process - Personal Service, ECF No. 452, p.
 8 158-183.

 9           On June 30, 2014, Jeannie Sutherland, Federal Halfway House, 2501 Industrial Road, Las

10 Vegas, Nevada 89102 was personally served with the United States of America’s Motion to File this

11 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

12 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Fourth

13 Supplemental Service of Process - Personal Service, ECF No. 453.

14           On July 9, 2014, the United States of America filed a proposed Settlement Agreement for

15 Entry of Order of Forfeiture as to Wells Fargo Bank, National Association, and Order (ECF No. 455).

16 On July 10, 2014, the United States District Court for the District of Nevada entered the order granting

17 the settlement agreement (ECF No. 456).

18            This Court finds the United States of America published the notice of forfeiture in accordance

19 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

20 from June 12, 2014, through July 11, 2014, notifying all potential third parties of their right to petition

21 the Court. Notice of Filing Proof of Publication, ECF No. 457.

22           On July 22, 2014, a Petition for Remission or Mitigation of Forfeiture (ECF No. 459) was filed

23 with this Court by Huong Lam, Alessi & Koenig, LLC, counsel for the Section Seven Community

24 Association. On August 19, 2014, the Section Seven Community Association withdrew their Petition
25 for Remission or Mitigation of Forfeiture (ECF No. 463).

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 1           On August 18, 2014, the United States of America filed a proposed Settlement Agreement for

 2 Entry of Order of Forfeiture as to Section Seven Community Association and Order (ECF No. 462).

 3 On August 21, 2014, the United States District Court for the District of Nevada entered the order

 4 granting the settlement agreement (ECF No. 464).

 5            This Court finds no other petitions were filed herein by or on behalf of any person or entity

 6 and the time for filing such petitions and claims has expired.

 7            This Court finds no petitions are pending with regard to the assets named herein and the time

 8 for presenting such petitions has expired.

 9            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

10 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

11 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

12 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

13 Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code,

14 Section 853(n)(7) and (p) and shall be disposed of according to law: real property located at 9405

15 Shipboard Court, Las Vegas, Nevada 89117 (“property”). The property is more particularly described

16 as follows:

17           Parcel I:
18       Lot One Hundred Twenty-Eight (128), in Block Four (4) of Mission Monterey Unit No. 2, as
   shown by map thereof on file in Book 40 of Plats, Page 9, in the Office of the County Recorder of Clark
19 County, Nevada.

20           Parcel II:
21         A non-exclusive easement on and over the “Common Area” as defined in the Declaration of
   Covenants, Conditions and Restrictions to which reference is hereafter made for access, use, enjoyment,
22 occupancy, ingress and egress of the amenities located hereon subject to the terms and provisions of said
   Declaration of Covenants, Conditions and Restrictions recorded January 20, 1987 in Book 870120 of
23 Official Records, as Document No. 00088.

24          Together with any and all improvements and appurtenances thereon, Assessor’s Parcel No. 163-
     07-813-014
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 1 which will be applied towards the criminal forfeiture money judgment of $2,341,350 in United States

 2 Currency.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

 4 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

 5 income derived as a result of the United States of America’s management of any property forfeited

 6 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

 7           The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 8 certified copies to the United States Attorney’s Office.

 9           DATED this ___ day of ______________, 2014.

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12                                                UNITED STATES DISTRICT JUDGE
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